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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

TERESA BLOODMAN                                                             PLAINTIFF

v.                          CASE NO. 4:16-CV-00773 BSM

BANK OF AMERICA, N.A.;
MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.,
a subsidiary of MERSCORP, INC., as Nominee and Mortgagee for
One Bank and Trust, an Arkansas Corporation;
COUNTRYWIDE HOME LOANS; ONE BANK AND TRUST,
an Arkansas Corporation, CARRINGTON MORTGAGE
SERVICES, LLC                                                DEFENDANTS

                                        ORDER

      On July 15, 2014, Bank of America filed a complaint for reformation and foreclosure

against Teresa Bloodman in state court. See Bank of America, N.A. v. Teresa Bloodman, et

al., No. 63CV-14-415 Circuit Court of Saline County, Arkansas, Civil Division (July 15,

2014). The subject property is described as follows:

      Lot 6, Hurricane Lake Estates, Phase IV, An Addition to the City of Benton,
      Saline County, Arkansas, Together with Ingress and Egress Easements As Set
      Forth on Plat Filed as Document No. 04 97943; Correction Plat Filed as
      Document No. 04 103235, Records of Saline County, Arkansas.

The state court entered a decree of foreclosure in favor of Bank of America and closed the

case on December 29, 2014. That decree stated that any interest Bloodman had in the

property is “forever barred and foreclosed.” Id. Bloodman moved to set aside the judgment

on January 12, 2015, and that motion was denied on March 13, 2015.             Bloodman

unsuccessfully appealed to the Arkansas Court of Appeals. She moved to set aside the

commissioner’s sale on September 19, 2016. An order confirming the sale was nonetheless
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entered on September 20, 2016. Bloodman removed that case to federal court, and it was

remanded back to state court pursuant to the Rooker-Feldman doctrine. Bloodman v. Bank

of America, N.A., et al., No. 4:17-CV-00112 KGB (E.D. Ark. Mar. 1, 2017), ECF No. 23.

       Bloodman asserts a plethora of claims aimed at regaining rights to the property

foreclosed upon. See Complaint for Declaratory Judgment, Breach of Contract, Breach of

Duty of Good Faith, Quiet Title, and for Damages, Doc. No. 2, at 2, 27. Bloodman asserts,

among other things, that she is entitled to the property because she was not given proper

notice related to the foreclosure proceedings. Id. ¶¶ 55, 71, 80.

       The Rooker-Feldman doctrine states that federal district courts lack subject matter

jurisdiction over challenges to state court decisions. Charchenko v. City of Stillwater, 47

F.3d 981, 983 (8th Cir. 1995). “In other words, Rooker-Feldman precludes a federal action

if the relief requested in the federal action would effectively reverse the state court decision

or void its ruling.” Id. The Circuit Court of Saline County, Arkansas issued a decision

severing all of Bloodman’s interest in the Hurricane Lakes property, and Bloodman’s claims

in this case are “inextricably intertwined” with that state court judgment. See Postma v. First

Fed. Sav. & Loan of Sioux City, 74 F.3d 160, 162 (8th Cir. 1996). Thus, her attempt to

challenge that decision in federal court amounts to an impermissible “collateral attack in

federal district court on a state foreclosure judgment.” Id. Accordingly, this case is

remanded for lack of subject matter jurisdiction.
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IT IS SO ORDERED this 18th day of July 2017.



                                       ________________________________
                                       UNITED STATES DISTRICT JUDGE
